       Case 2:17-cv-00550-DB-DBP Document 76 Filed 11/06/18 Page 1 of 5



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Attorney for Plaintiff



                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

 CRIMINAL PRODUCTIONS, INC.,                         Civil Action No. 2:17-cv-00550-DB-DBP

                Plaintiff,                                       Judge Dee Benson

        vs.
                                                               MOTION
 DOES 1-32,                                             FOR ENTRY OF DEFAULT
                                                             PURSUANT TO
                Defendants.                                FRCP 55(a) AS TO
                                                         CERTAIN DEFENDANTS
                                                                 AND
                                                               MOTION
                                                     TO TERMINATE ALL DISCOVERY
                                                            PROCEEDINGS




       The Plaintiff, Criminal Productions, Inc., by and through its counsel of record, and pursuant

to Rule 55(a), hereby seeks by motion entry of default for the Defendants identified below. These

Defendants have failed to plead or otherwise respond to the Complaint.



(A) Statement of precise relief sought and the specific grounds for the motion

       Criminal Productions, Inc. seeks entry of default against the following Defendants

(“Defendants”) served on the dates identified below:
       Case 2:17-cv-00550-DB-DBP Document 76 Filed 11/06/18 Page 2 of 5




 DOE           IP               NAME                      ADDRESS                   DATE SERVED
                                                  6232 S STERNWOOD DR,               December 13,
   4     73.98.177.163        Troy Regier
                                                    Taylorsville, UT 84129              2017
                                                  13521 S Muhlenburg Way,
   6     75.162.176.115      Mike Hudson                                           December 1, 2017
                                                      Riverton, UT 84065
                                                  776 24TH ST UNIT WEST,
  17     67.177.16.219       Derrick Martin                                         October 26, 2017
                                                       Ogden, UT 84401
                                                   141 W 200 N, Logan, UT
  19     75.162.114.81       Sara Palacios                                         November 1, 2017
                                                             84321
                                                  105 GWEN ST, Ogden, UT
  21      67.177.45.20      Cynthia Delgado                                         October 26, 2017
                                                             84404
                                                 1663 W NORTHWOOD AVE
                                                                                     November 28,
  28       73.98.208.3        Marta Torres         APT 4, Salt Lake City, UT
                                                                                        2017
                                                             84116
                                                 14775 S HADDINGTON RD,              November 27,
  30     67.177.56.142        Terry Shelby
                                                       Draper, UT 84020                 2017
                                                   3504 JEFFERSON AVE,
  31     67.182.204.87     Maria Arredondo                                          October 26, 2017
                                                       Ogden, UT 84403


       These Defendants were served with process and have failed to timely plead or otherwise

respond to the Complaint to this date, November 6, 2018.

       Plaintiff also seeks termination of discovery proceedings as to all defaulted defendants.

Plaintiff’s election of statutory damages and calculation of the amount is left to the discretion of

the court without needing discovery as to defaulted defendants.



(B) Relevant facts, supporting authority, and argument.

                            The identified Defendants are in default

       This Court granted Criminal Productions, Inc.’s motion for expedited discovery on June

14, 2017. Thereafter, Criminal Productions, Inc. sought the identification of these Defendant via

a subpoena on the Internet Service Provider which manages the IP addresses above seeking contact



                                                 2
       Case 2:17-cv-00550-DB-DBP Document 76 Filed 11/06/18 Page 3 of 5



information for the Defendants. As typical, within weeks of receiving the subpoena the Internet

Service Provider sent a letter directly to these subscribers/Defendants giving the Defendants notice

of the subpoena request. The letter from the Internet Service Provider to the Defendants also

provided contact information for the undersigned counsel.

       After we received the Defendants’ contact information from the Internet Service Provider,

our office sought to contact and/or serve the Defendants directly at the same address used in the

notice letter from the Internet Service Provider, if counsel for the had not already called on behalf

of the Defendant. As to these Defendants, our communication to these Defendants and/or service

of process was not returned as undeliverable and we received no indication that the Defendants no

longer resided at the address we received from the Internet Service Provider.

       Now, having been served as shown above and established by filed return of service, a

response to the Complaint from each of these Defendants response was due twenty-one days later

on. Each of these Defendants has entirely failed to plead or otherwise respond to the date of this

motion.

       These Defendants are in default.

       Criminal Productions, Inc. requests entry of default as to the Defendants identified above.

An order for Entry of Default is provided to the Court pursuant to the local rule.

              As to defaulted Defendants, no discovery is needed for statutory damages

       Upon entry of default for liability and willfulness, the only remaining issue is a calculation

of an amount of damage. In this case, Plaintiff elects statutory damages under the Copyright Act,

17 U.S.C. 504 (c), which require no evidentiary proof for calculation but is left to the discretion of

the court with a minimum of $750 and up to $30,000 per infringement. Id.




                                                  3
       Case 2:17-cv-00550-DB-DBP Document 76 Filed 11/06/18 Page 4 of 5



       Plaintiff’s election of statutory damages obviates the need for further discovery related to

defaulted defendants. This court should terminate all discovery proceedings for all defaulted

defendants.

       Plaintiff requests entry of default as to all defendants identified herein and the termination

of all discovery proceedings as to the defaulted defendants.


       DATED: November 6, 2018

                                              DUREN IP


                                              By:    /s/Todd E. Zenger
                                                     Todd E. Zenger

                                                     Attorneys for Plaintiff
                                                     Criminal Productions, Inc.




                                                 4
       Case 2:17-cv-00550-DB-DBP Document 76 Filed 11/06/18 Page 5 of 5



                                CERTIFICATE OF SERVICE

              A true and correct copy of this motion and its associated proposed orders were

served by first class mail as follows on November 6, 2018:



             NAME                                            ADDRESS

          Troy Regier                    6232 S STERNWOOD DR, Taylorsville, UT 84129
         Mike Hudson                       13521 S Muhlenburg Way, Riverton, UT 84065
         Derrick Martin                    776 24TH ST UNIT WEST, Ogden, UT 84401
         Sara Palacios                            141 W 200 N, Logan, UT 84321
        Cynthia Delgado                          105 GWEN ST, Ogden, UT 84404
          Marta Torres              1663 W NORTHWOOD AVE APT 4, Salt Lake City, UT 84116
          Terry Shelby                    14775 S HADDINGTON RD, Draper, UT 84020
        Maria Arredondo                      3504 JEFFERSON AVE, Ogden, UT 84403


                                            ______/s/ Seth F. Littleford_____________




                                               5
